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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERM DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 ROBINSON CABRERA                                      )
                                                       )
        Plaintiff                                      )
                                                       )
 v.                                                    )       Civil Action No. 4:22-cv-2
                                                       )       Judge Mazzant
 FIRST NATIONAL BANK OF TRENTON                        )
                                                       )
        Defendant                                      )

                                  STIPULATION TO DISMISS

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff Robinson Cabrera and Defendant First

 National Bank of Trenton, through their undersigned counsel, stipulate and agree to voluntarily

 dismiss Plaintiff’s claims with prejudice, with costs and attorneys’ fees taxed against Plaintiff.

        Dated: June 21, 2022

                                               Respectfully submitted,

                                               /s/ Wade Kricken
                                               Wade Kricken
                                               State Bar No. 24034527
                                               4261 E. University Drive
                                               Suite 30-261
                                               Prosper, Texas 75078
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                                               wade@krickenlawfirm.com

                                               ATTORNEY FOR PLAINTIFF
                                               ROBINSON CABRERA




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 AGREED AS TO FORM AND SUBSTANCE:


 /s/ Mark D. Cronenwell (with authorization conferred)
 Mark D. Cronenwett
 State Bar No. 00787303
 Mackie Wolf Zients & Mann, P.C.
 14160 North Dallas Parkway, Suite 900
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 214.635.2650 – tel.
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 ATTORNEYS FOR DEFENDANT
 FIRST NATIONAL BANK OF TRENTON




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                                 CERTIFICATE OF SERVICE

        This shall certify that a true an accurate copy of the foregoing instrument was served on
 the following counsel on the 21st day of June, 2022, via email as follows:


 Via Email mconenwett@mwzmlaw.com
 Mark D. Cronenwett
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 ATTORNEYS FOR DEFENDANT
 FIRST NATIONAL BANK OF TRENTON



                                                      /s/ Wade Kricken
                                                      Wade Kricken




                                                                    STIPULATION OF DISMISSAL / PAGE 3
